


  Crow, J.,
 

  dissenting. In connection with the other determinative facts pleaded by plaintiff and embraced in the trial statement of her counsel, the fact that it was snow brought into the store from the street, makes the situation no different than it would have been if slippery trash of any kind whatsoever had been brought in from the street as was the snow, and had caused plaintiff to fall, there being no claim and no foundation for a claim that the wet and slippery snow in the store was directly there! by the act of God.
 

  The paramount questions involved in the controversy, were whether defendant who had invited plaintiff to come upon its premises, exercised ordinary care to guard her against danger, and also whether plaintiff failed to exercise ordinary care for her own safety.
 

  Those questions with the other controlling ones were so presented by plaintiff’s pleading and the trial statement of her counsel, that when liberally construed in
   
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  favor of plaintiff, a variety of circumstances- were shown from which reasonable minds wonld be justified in arriving at opposite conclusions. Therefore the case should have gone to the jury.
 

  Klinger, Guernsey and Crow, JJ., of the Third Appellate District, sitting by designation in the Eighth Appellate District.
 
